
604 S.E.2d 314 (2004)
359 N.C. 68
In re J.L.K., a minor juvenile.
No. 402P04.
Supreme Court of North Carolina.
October 6, 2004.
Richard E. Jester, for J.L.K.
Martin Tetreault, Smithfield, for S.B.
James D. Johnson, Jr., Benson, for Guardian ad Litem.

ORDER
Upon consideration of the petition filed on the 10th day of August 2004 by Respondent (G.K.) in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 6th day of October 2004."
